                               Case 2:23-cv-01352-SGC Document 3 Filed 10/13/23 Page 1 of 2                                                                                                               FILED
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                                           11\ THE U"IITED STATES DISTRICT COL RT
                                          FOR THE '.'.ORTH ER!\ DISTRICT OF ALABAMA

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                     Case 2:23-cv-01352-SGC Document 3 Filed 10/13/23 Page 2 of 2




                                IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ALABAMA

                                                                                                Summons
      Christopher Williams
                                                                                      (Issued pursuant to Ruic 4 of
                                                                                      the Fl'dt.·ral Rules of Ci\·il
                                                         Plaintiff,                   Proceclurc or other appropriaH'
                                                                                      la\\.)

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       Sarnud Hurndt:
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       B\1S \I. irck:,:-.. LU.
                                                         Defendant.

                                                             Summons in a Civil ,\ction

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                                                                               GREER M. LYNCH, C1BUC
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